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                            UNITED STATES COURT OF APPEALS
                                FOR THE FOURTH CIRCUIT
                           1100 East Main Street, Suite 501, Richmond, Virginia 23219

                                             January 5, 2021

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                                    FEE NOTICE AFTER GRANT
                                    OF PERMISSION TO APPEAL
                                   ____________________________

        No. 21-1005,     B.R. v. F.C.S.B.
                         1:19-cv-00917-RDA-TCB


        FEE: $505 DUE TO DISTRICT COURT: January 20, 2021

        The petition for permission to appeal having been granted, appellant must pay
        filing fee to the Clerk, U.S. District, within 15 days for this appeal to proceed.
        Appellant must pay the fee to the district court within 15 days or the court will
        initiate the process set forth in Local Rule 45 to dismiss this case for failure to
        prosecute.

        Emily Borneisen, Deputy Clerk
        804-916-2704
